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                                             1   McDERMOTT WILL & EMERY LLP
                                                 Jason Strabo (SBN 246426)
                                             2   jstrabo@mwe.com
                                                 2049 Century Park East
                                             3   Suite 3200
                                                 Los Angeles, CA 90067-3206
                                             4   Telephone: +1 310 277 4110
                                                 Facsimile: +1 310 277 4730
                                             5
                                                 Kerry Alan Scanlon (Admitted pro hac vice)
                                             6   kscanlon@mwe.com
                                                 Jeremy M. White (Admitted pro hac vice)
                                             7   jmwhite@mwe.com
                                                 Julie H. McConnell (Admitted pro hac vice)
                                             8   jmcconnell@mwe.com
                                                 500 North Capitol Street, NW
                                             9   Washington, D.C. 20001
                                                 Telephone: +1 202 756 8000
                                            10   Facsimile: +1 202 785 8087
                                            11   Attorneys for Defendant Walt Disney Parks
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                                                 and Resorts U.S., Inc.
                                            12
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                                            13                                     UNITED STATES DISTRICT COURT
                                            14                                   CENTRAL DISTRICT OF CALIFORNIA
                                            15   T.P., by and through S.P., as next friend,           CASE NO. 2:15-cv-05346-CJC-E
                                                 parent, and natural guardian, et al.,
                                            16                                                        WALT DISNEY PARKS AND
                                                                              Plaintiffs,             RESORTS U.S., INC.’S RESPONSE
                                            17                                                        TO PLAINTIFFS’ OBJECTIONS TO
                                                            v.                                        AMENDED APPLICATION TO TAX
                                            18                                                        COSTS
                                                 Walt Disney Parks and Resorts U.S., Inc.,
                                            19
                                                                              Defendant.
                                            20
                                            21
                                                            Defendant Walt Disney Parks and Resorts U.S., Inc. (“Disney”) submits the
                                            22
                                                 following response to Plaintiffs’ Objections to Disney’s Amended Application to the
                                            23
                                                 Clerk to Tax Costs (“Application”). 1
                                            24
                                            25   1
                                                   Disney amended its application on July 29, 2021 to include updated deposition
                                            26   invoices and explain why certain court reporting service providers utilized rates
                                                 above those set by the Judicial Conference of United States. See Doc. 520.
                                            27
                                                 Plaintiffs’ supplemental filing barely addresses these amendments and instead
                                            28   focuses on new objections to Disney’s original application which were due on July
                                                     Disney’s Response to Plaintiffs’ Objections to                   (No. 2:15-cv-05346-CJC-E)
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                                             1   I.         PLAINTIFFS’ REQUEST TO STAY THE TAXATION OF COSTS
                                                            PENDING APPEAL SHOULD BE DENIED
                                             2
                                                            Plaintiffs ask this Court to stay taxation of costs pending an appeal to the
                                             3
                                                 Ninth Circuit, but they neither followed (nor acknowledged the availability of) the
                                             4
                                                 procedure laid out by the Federal Rules of Civil Procedure for requesting a stay—
                                             5
                                                 that is, to request a supersedeas bond. See, e.g., Jang v. Sagicor Life Ins. Co., 2019
                                             6
                                                 WL 6434934, at *4 (C.D. Cal. Oct. 25, 2019) (“[T]he Federal Rules of Civil
                                             7
                                                 Procedure already provide a mechanism by which plaintiffs can defer payment of
                                             8
                                                 costs pending the outcome of an appeal. If an appeal is taken, the appellant may
                                             9
                                                 obtain a stay by supersedeas bond.”) (citing Fed. R. Civ. P. 62(d)). They instead ask
                                            10
                                                 the Court to delay taxation of costs based on a four-prong test. Doc. 518 at 4.2 But
                                            11
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                                                 Plaintiffs fail to satisfy that test too.
                                            12
                                                            1.       To begin, Plaintiffs are unlikely to succeed on appeal. Plaintiffs have
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                                            13
                                                 now had numerous opportunities, including five bellwether phases, to convince the
                                            14
                                                 Court (and two different federal judges) that their claims had merit. They failed at
                                            15
                                                 every turn. And Plaintiffs’ mere belief that they will be meritorious on appeal “has
                                            16
                                                 no bearing on the issue of whether . . . costs should be taxed.” Jang v. Sagicor Life
                                            17
                                                 Ins. Co., 2019 WL 6434934, at *4 (C.D. Cal. Oct. 25, 2019) (internal citations
                                            18
                                            19
                                                 28, 2021 (see Doc. 525 at 8, 11, 13-15 & 17-18). Plaintiffs have also attached
                                            20
                                                 several exhibits relating to the original application (Docs. 525-7 through 525-16),
                                            21   which should have been submitted weeks ago. Because the Plaintiffs failed to raise
                                                 these objections in responding to Disney’s original application, they are untimely and
                                            22
                                                 should be disregarded.
                                            23   2
                                                    Spigen-Korea Co., Ltd. v iSpeaker Co., Ltd, 2020 WL 2527998, at *1 (C.D. Cal.
                                            24   Jan. 23, 2020) (outlining the following four factors for determining whether to stay
                                            25   an order pending appeal: (1) the applicant seeking the stay has made a strong
                                                 showing that he is likely to succeed on the merits; (2) the applicant will be
                                            26   irreparably injured absent a stay; (3) issuance of a stay will substantially injure the
                                            27   other parties interested in the proceeding; and (4) public interest reasons weigh in
                                                 favor of a stay).
                                            28
                                                     Disney’s Response to Plaintiffs’ Objections to   -2-                  (No. 2:15-cv-05346-CJC-E)
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                                             1   omitted) (citing Haitayan v. 7-Eleven, Inc., 2018 WL 5263210, at *3 (C.D. Cal. Aug.
                                             2   31, 2018)).
                                             3           Moreover, Plaintiffs’ emphasis on the Eleventh Circuit’s reversal of summary
                                             4   judgment in A.L. v. Walt Disney Parks and Resorts U.S., Inc., 800 F.3d 1270 (11th
                                             5   Cir. 2018) is misplaced. In its August 2018 decision, the Eleventh Circuit incorrectly
                                             6   construed Title III’s “necessary” standard as requiring Disney to provide a theme
                                             7   park experience that would eliminate meltdowns. Id. at 1280-81, 1296-98. That
                                             8   reasoning cannot be reconciled with the Supreme Court’s precedent in PGA Tour,
                                             9   Inc. v. Martin, 532 U.S. 661, 688 (2001). It is therefore not surprising that this Court
                                            10   did not adopt the A.L. decision when it subsequently granted summary judgment for
                                            11   Disney in Bellwether III, IV and V. Docs. 355, 464-466, & 510-511. The Ninth
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                                            12   Circuit is unlikely to hold otherwise.
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                                            13           2.      Plaintiffs have also made no showing that they would be irreparably
                                            14   injured absent a stay. They assert that they (and their families) have lesser financial
                                            15   means than the Defendant, but fail to provide any evidence to prove they have
                                            16   insufficient assets to pay the taxable costs. See Emblaze Ltd. v. Apple Inc., 2015 WL
                                            17   1304779, at *2 (N.D. Cal. Mar. 20, 2015) (denying entry of a stay where defendant
                                            18   “offer[ed] no evidence that it lacks assets sufficient to satisfy a cost award”); see also
                                            19   Santana v. Cty. of Yuba, 2021 WL 492787, at *2 (E.D. Cal. Feb. 10, 2021)
                                            20   (concluding that a stay was unwarranted where plaintiffs did “not articulate any
                                            21   hardship or irreparable harm they would suffer if the court does not grant a stay”).
                                            22           3.      This case has been litigated for over six years and at great expense to
                                            23   Disney. A further delay in awarding costs is in and of itself injurious. Emblaze,
                                            24   2015 WL 1304779, at *2 (“The prevailing party has an interest in prompt payment of
                                            25   its taxable costs . . . Further delay is prejudicial to [defendant] as the prevailing party
                                            26   under Rule 54(d).”).
                                            27           4.      Public policy also favors “prompt recovery of costs.” Id. at *3. This is
                                            28   particularly true here because this litigation was brought on behalf of twenty-seven
                                                  Disney’s Response to Plaintiffs’ Objections to -3-                 (No. 2:15-cv-05346-CJC-E)
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                                             1
                                                 Plaintiff families and has been litigated for more than six years, during which time
                                             2
                                                 Disney has incurred substantial costs. Now that a final judgment has been issued,
                                             3
                                                 Disney should be awarded costs promptly and without delay.
                                             4
                                                         Because the Plaintiffs fail to seek a stay using the proper procedure (Jang,
                                             5
                                                 2019 WL 6434934, at *4) and do not demonstrate that a stay is appropriate under the
                                             6
                                                 four-prong test identified in their opposition, Plaintiffs’ request to stay Disney’s
                                             7
                                                 Application should be denied.
                                             8
                                                 II.    PLAINTIFFS ARE JOINTLY AND SEVERALLY LIABLE FOR
                                             9          DISNEY’S COSTS
                                            10           Plaintiffs are wrong that the taxable costs incurred by Disney in litigating this
                                            11   case to conclusion must be allocated among them. “When one party prevails against
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                                            12   multiple opponents, the presumptive rule is joint and several liability unless it is clear
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                                            13   that one or more of the losing parties is responsible for a disproportionate share of
                                            14   the costs.” Anderson v. Int’l Paper Co., 2015 WL 3648972, at *6 (C.D. Cal. June 10,
                                            15   2015) (internal quotations omitted); see also Summit Entm’t, LLC v. Santia, 2014 WL
                                            16   12577430, at *6 (C.D. Cal. June 24, 2015) (holding that co-defendants are “jointly
                                            17   and severally liable for . . . reasonable costs to be evidenced by a bill of costs”).
                                            18   “The court has broad discretion in determining whether, and on what conditions,
                                            19   to apportion costs . . . [and] if a party would have incurred the same costs despite the
                                            20   existence of multiple parties, or if the costs were incurred to pursue claims and
                                            21   defenses common to all parties, apportionment is not appropriate.” 3000 E. Imperial,
                                            22   LLC v. Robertshaw Controls Co., 2011 WL 13180458, at *2 (C.D. Cal. May 2, 2011).
                                            23           Here, Plaintiffs elected to file a joint complaint encompassing numerous
                                            24   claims in a single case. Until now, they have vehemently opposed characterizing
                                            25   their claims as separate and distinct from one another and even opposed a motion to
                                            26   sever. See, e.g., Doc. 34 (Pls.’ Opp. to Mot. to Sever Pls.). All but one Plaintiff
                                            27   family has been represented by the same legal team, and they all relied on the same
                                            28   witnesses and exhibits and put forth virtually identical arguments. Courts routinely
                                                 Disney’s Response to Plaintiffs’ Objections to -4-                 (No. 2:15-cv-05346-CJC-E)
                                                  Amended Application to Tax Costs
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                                             1   adhere to the clear presumption of joint and several liability under similar
                                             2   circumstances. See, e.g., Anderson, 2015 WL 3648972, at *6 (rejecting plaintiffs’
                                             3   argument that costs owed to a single prevailing party, their employer, should be
                                             4   apportioned where they “shared a joint defense team and many trial exhibits and
                                             5   witnesses”); City of Alameda v. Nuveen Mun. High Income Opp. Fund, 2012 WL
                                             6   177566, at *2 (N.D. Cal. Jan. 23, 2012) (holding plaintiffs were jointly and severely
                                             7   liable for bill of costs where “[p]laintiffs’ claims against [the defendant] were
                                             8   essentially identical, discovery was consolidated, and plaintiffs are in a better
                                             9   position than [defendant] to apportion and segregate costs as between [themselves]”).
                                            10              To try to overcome this presumption, Plaintiffs point to three scenarios where
                                            11   courts have elected to apportion costs: (1) when neither party was a “prevailing
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                                            12   party”; (2) in multi-district litigation where the plaintiffs initially filed separate cases;
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                                            13   and (3) when a prevailing party seeks the windfall of double recovery. 3 None of
                                            14   those situations is present here. Disney is the sole and clear prevailing party.
                                            15   Plaintiffs elected to bring their claims in a single complaint: they were not
                                            16   encouraged, let alone forced, to consolidate them by Disney or the Court. And
                                            17   Disney seeks one bill of costs covering its costs for the entire matter, thereby
                                            18   preventing any opportunity for a double recovery. In short, there is no reason for the
                                            19   Court to disregard the clear presumption of joint and several liability, and it should
                                            20   award the full amount of costs against Plaintiffs.4
                                            21
                                                 3
                                                   Doc. 518 at 6-8 (citing Oyarzo v. Toulumne Fire Dist., 2014 WL 1757217, *3 (E.D.
                                            22
                                                 Cal. 2017); Winter v. Novartis Pharm. Corp., 739 F.3d 405, 411-12 (8th Cir. 2014);
                                            23   S.F. BART Dist. v. Spenser, 2007 WL 3343239 (N.D. Cal. 2007)).
                                            24   4
                                                    Contrary to Plaintiffs’ contentions, Disney’s Application does not include any costs
                                            25   that are solely attributable to the Plaintiff families who voluntarily dismissed their
                                                 claims. Moreover, because every cost Disney seeks to recover would still have been
                                            26   incurred even if the dismissed Plaintiff families had not brought their claims in the
                                            27   first place, Disney is entitled to the full amount of the costs it seeks. 3000 E.
                                                 Imperial, LLC, 2011 WL 13180458, at *2.
                                            28
                                                     Disney’s Response to Plaintiffs’ Objections to   -5-                (No. 2:15-cv-05346-CJC-E)
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                                             1   III.       DISNEY’S COSTS SHOULD BE TAXED IN THEIR ENTIRETY
                                             2              “Rule 54(d)(1) creates a presumption in favor of awarding costs to the
                                             3   prevailing party . . . and the burden falls on the losing party to demonstrate why costs
                                             4   should not be awarded.” Anderson, 2015 WL 3648972, at *5 (internal quotations
                                             5   omitted). In other words, “[a] district court must specify reasons for its refusal to tax
                                             6   costs to the losing party, but need not give affirmative reasons for awarding costs.”
                                             7   Id. (citing Save Our Valley v. Sound Transit, 335 F.3d 932, 945 (9th Cir. 2003)
                                             8   (emphasis in the original)). Here, Plaintiffs have made a number of unsubstantiated
                                             9   claims regarding Disney’s costs or have simply offered their opinion that inexpensive
                                            10   options may have been available. They also present a set of charts purporting to
                                            11   outline “unrecoverable costs,” but these charts contain incorrect information and do
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                                            12   not support Plaintiffs’ flawed reasoning (Docs. 525-7 through 525-15).5 As a result,
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                                            13   Plaintiffs have failed to meet their burden to overcome the strong presumption that
                                            14   Disney is entitled to the reasonable and necessary costs it seeks to recover, and they
                                            15   should be taxed $86,387.39, as set forth in Disney’s Application. Doc. 520-1.
                                            16              A.       Disney’s Invoices Identify All Taxable Costs
                                            17
                                                            Local Rule 54-2.1 requires that an application to tax costs include “a detailed
                                            18
                                                 bill of costs . . . stat[ing] separately and specifically each item of taxable costs
                                            19
                                                 claimed . . . [with] sufficient document to support the amount and taxability of each
                                            20
                                                 item, such as an invoice . . . .” If any invoice submitted in support of an application
                                            21
                                                 to tax costs contains taxable and non-taxable costs, this District’s Bill of Costs
                                            22
                                                 Handbook instructs the moving party to “identify what taxable items are being
                                            23
                                            24   5
                                                   For example, Plaintiffs assert Disney seeks $2,094.61 in costs associated with
                                            25   T.P.’s deposition but is only entitled to recover $1,893.02. (Doc. 525-12 at 2). Yet,
                                                 Plaintiffs’ “notes” give no indication how they reached this conclusion. In any event,
                                            26   Disney only seeks $1,169.77 for T.P.’s deposition, the taxable sum after subtracting
                                            27   the expedited delivery and rough draft charges as identified in Disney’s Notice of
                                                 Amended Application. (Doc. 520; Doc. 520-2 at 5).
                                            28
                                                     Disney’s Response to Plaintiffs’ Objections to   -6-                (No. 2:15-cv-05346-CJC-E)
                                                     Amended Application to Tax Costs
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                                             1   claimed.” Central District of California Bill of Costs Handbook at 3. Disney has
                                             2   complied with these requirements.
                                             3              Plaintiffs’ Objections identify three categories of purportedly non-compliant
                                             4   invoices: (1) Disney’s service of process invoices; (2) Disney’s deposition invoices;
                                             5   and (3) Disney’s exemplification invoices. Contrary to Plaintiffs’ claims, each
                                             6   category of invoices complies with the Local Rules. First, each line item cost on
                                             7   Disney’s service of process invoices are taxable, and no further identification is
                                             8   necessary. Second, Disney’s Application includes deposition transcript invoices
                                             9   breaking down the total cost by line item and, as explained in Disney’s Notice of
                                            10   Amended Application, Disney only seeks reasonable costs permitted under the Local
                                            11   Rules.6 Specifically, and with the exception of Dr. Lila Kimel, 7 Disney does not seek
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                                            12   any costs associated with expedited transcript preparation, including realtime and
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                                            13   rough draft copies, or expedited shipping and handling. Simply put, Disney
                                            14   identified the taxable deposition costs it incurred litigating this matter to conclusion.
                                            15   Third, Disney’s exemplification invoices highlight the taxable costs on those few
                                            16   invoices that contain both taxable and non-taxable charges.
                                            17              Because Disney’s Application complies with the Local Rules, the costs
                                            18   specified therein should be taxed by the Clerk of Court.
                                            19
                                            20
                                            21   6
                                                   For example, the invoice associated with J.L.C.’s deposition lists a total cost of
                                                 $2,937.45. However, after subtracting realtime costs of $572.25 and rough draft
                                            22
                                                 costs of $490.50 from the total amount, Disney seeks to recover $1,874.70 in taxable
                                            23   costs reasonably incurred in taking J.L.C.’s deposition. Compare Doc. 520-2 at 6
                                                 with Doc. 520-5 at 34.
                                            24
                                            25
                                                 7
                                                   As discussed below and in Disney’s Notice of Amended Application (Doc. 520),
                                                 Disney seeks its costs associated with the 5-day expedited production of Dr. Kimel’s
                                            26   deposition transcript as delays—through no fault of Disney—prevented Dr. Kimel’s
                                            27   deposition from occurring until March 12 and 15, 2021, which was only three weeks
                                                 before the Court’s deadline for dispositive motions.
                                            28
                                                     Disney’s Response to Plaintiffs’ Objections to   -7-               (No. 2:15-cv-05346-CJC-E)
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                                             1           B.       Disney’s Deposition Costs Are Supported by Documentation and
                                             2                    Are Consistent with Customary and Reasonable Rates Set by Court
                                                                  Reporting Companies
                                             3
                                                         Local Rule 54-3.5 allows a prevailing party to tax the reasonable costs of
                                             4
                                                 preparing an original and copy transcription of each deposition necessarily taken
                                             5
                                                 during the course of a litigation. The rule also notes that the transcript rate set by the
                                             6
                                                 Judicial Conference of the United States “will generally be considered reasonable,”
                                             7
                                                 but higher rates will be taxed when reasonable under the circumstances. As
                                             8
                                                 explained in Disney’s Notice of Amended Application (Doc. 520 at 2), court
                                             9
                                                 reporting companies set their rates based on location and, in some cases, by witness
                                            10
                                                 classification (e.g., fact versus expert witness). Many of the depositions in this
                                            11
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                                                 matter were necessarily conducted in the Los Angeles and Washington D.C.
                                            12
                                                 metropolitan areas for the convenience of the deponents and parties, and court
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                                            13
                                                 reporting companies sometimes charged rates for those localities that were above the
                                            14
                                                 Judicial Conference’s national standard. Those higher rates are therefore reasonable
                                            15
                                                 under the specific circumstances of this case.
                                            16
                                                         Plaintiffs also object to Disney seeking costs for expedited shipping and rough
                                            17
                                                 draft copies. However, Disney’s Application makes clear that Disney does not seek
                                            18
                                                 to recover any rough draft costs and only seeks to recover costs for the 5-day
                                            19
                                                 expedited production of Dr. Kimel’s deposition. Dr. Kimel had limited availability to
                                            20
                                                 be deposed in this case. As a result, her deposition (which occurred over the course
                                            21
                                                 of two days, given her tight schedule) was taken a mere three weeks before the
                                            22
                                                 parties’ deadline to file for summary judgment. Expedited delivery of Dr. Kimel’s
                                            23
                                                 deposition transcript was therefore reasonable and should be taxed. Zomorodian v.
                                            24
                                                 BMW of N.A., LLC, 332 F.R.D. 303, 307-08 (C.D. Cal. 2019) (“While
                                            25
                                                 expedited transcripts may not be a reasonable expense in every case, the Court
                                            26
                                                 concludes that, under these circumstances, Plaintiff, through no fault of his own,
                                            27
                                                 reasonably incurred the expense associated with expedited transcripts.”).
                                            28
                                                  Disney’s Response to Plaintiffs’ Objections to   -8-                 (No. 2:15-cv-05346-CJC-E)
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                                             1           C.       Disney’s Service of Process Costs Are Reasonable
                                             2           Local Rule 54-3.2 allows a prevailing party to recover reasonable fees for
                                             3   service of process, including fees associated with research, surveillance, wait time
                                             4   and parking incurred in connection with service. Plaintiffs object to Disney’s service
                                             5   of process costs for three reasons, none of which has any merit.
                                             6           First, Plaintiffs object to Disney’s service of process costs on the ground that
                                             7   Disney seeks to recover fees associated with “immediate service.” However, this
                                             8   District routinely taxes these fees—as established by the cases cited by Plaintiffs.
                                             9   See, e.g., Bucklin v. Am. Zurich Ins. Co., 2013 WL 12233717, at *4 (C.D. Cal. Oct.
                                            10   30, 2013) (awarding costs for “same day” and “immediate” service of process
                                            11   because “there is no indication in [Local] Rule 54-3.5(a) that fees
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                                            12   for expedited service are not to be included. Nor is such an exclusion found in the
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                                            13   statutory mandate for service of process fees, 28 U.S.C. § 1921.”); Fuchs v. State
                                            14   Farm Gen. Ins. Co., 2017 WL 10410801, at *4 (C.D. Cal. Nov. 1, 2017) (approving
                                            15   “immediate” or “same day” service of process fees as a matter of course).
                                            16            Second, Plaintiffs object to taxing costs associated with multiple service
                                            17   attempts, claiming that Disney has not provided any reason why multiple attempts
                                            18   were necessary. That is not true. As clearly stated in Disney’s Original and
                                            19   Amended Itemized List of Costs (Doc. 517-1 at 1; Doc. 520-2 at 1), attempted
                                            20   service costs were often necessary because Plaintiffs’ counsel frequently was unable
                                            21   to provide Disney with accurate contact information for their witnesses. As a result,
                                            22   Disney’s service fees are reasonable. See, e.g., Fuchs, 2017 WL 10410801, at *4
                                            23   (taxing costs associated with multiple service attempts resulting from “an inability to
                                            24   locate individuals or because the individual would not answer or accept service”);
                                            25   Jardin v. DATAllegro, Inc., No. 08-cv-1462, 2011 WL 4835742, at *9 (S.D. Cal. Oct.
                                            26   12, 2011) (“Attempted service at more than one address is a normal and often
                                            27   necessary part of eventually serving a subpoena successfully, and associated costs are
                                            28   recoverable.”).
                                                  Disney’s Response to Plaintiffs’ Objections to   -9-                 (No. 2:15-cv-05346-CJC-E)
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                                              1              Third and finally, Plaintiffs object to Disney’s service of process fees
                                              2   associated with issuing witness fee checks and making copies of the subpoena for
                                              3   service. But once again, Local Rule 54-3.2 allows Disney, as the prevailing party, to
                                              4   recover all reasonable fees for service of process. It is inherently reasonable for a
                                              5   process server to print physical copies of the subpoenas they plan to serve and, in the
                                              6   case of subpoenas to testify, issue the required witness fee at the time of service. 8
                                              7              Plaintiffs cannot and do not point to any precedent denying any of the service
                                              8   of process costs Disney seeks to recover with its Application. Therefore, all of
                                              9   Disney’s service of process costs are reasonable and should be taxed.
                                             10              D.      Disney’s Witness Fees Are Not Duplicative of Other Charges
                                             11              Plaintiffs oppose costs Disney seeks for witness fees because “there appear to
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                                             12   be duplicate charges sought under the Witness Fee and Deposition Category.” Doc.
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                                             13   518 at 16. However, Disney subtracted each witness fee from the service of process
                                             14   fees and instead properly seeks to recover those fees as witness fees under Local
                                             15   Rule 54-3.6. For example, Disney only seeks to recover $417.25 for service of
                                             16   process on Dr. Lynne Forman (Doc. 517-1 at 2; Doc. 520-2 at 2), despite paying an
                                             17   invoice for $471.72 (Doc. 517-3 at 22; Doc. 520-4 at 22). The reason for this
                                             18   deduction is that Disney has not sought to recover the recorded witness fee of $54.47
                                             19   as a fee for service of process under Local Rule 54-3.2. Instead, Disney properly
                                             20   seeks recovery of that fee as a witness fee under Local Rule 54-3.6, and only up to
                                             21   the statutory maximum of $40.00 (Doc. 517 at 2; Doc 520-1 at 2). The same is true
                                             22   of the other witness fees identified in Disney’s Application.9 Because Disney does
                                             23   not seek any duplicate costs, its witness fees should be taxed in full.
                                             24
                                             25
                                                  8
                                                    The service process provider only charged $0.25 per page for copies if the served
                                                  document was over 20 pages and waived the fee for documents under 20 pages.
                                             26
                                                  9
                                                    Plaintiffs continue to assert that Disney seeks to collect duplicate witness fees for
                                             27
                                                  A.H., Dr. Kimel and Dr. James. This assertion is not true. As demonstrated by
                                             28   Disney’s Itemized Bill of Costs (Doc. 520-2 at 1-5), Disney only seeks witness fees
                                                   Disney’s Response to Plaintiffs’ Objections to -10-                 (No. 2:15-cv-05346-CJC-E)
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                                              1          E.       Disney’s Exemplification Costs Are Properly Taxable
                                              2          Pursuant to Local Rule 54-3.10, Disney is entitled to recover reasonable
                                              3   document preparation costs that it incurred litigating this case, including the costs for
                                              4   physically reproducing material necessarily obtained for use in this case and costs for
                                              5   copying and delivering mandatory chambers copies required by the Court.
                                              6          Plaintiffs object to a number of costs Disney incurred to ensure timely delivery
                                              7   of mandatory chambers copies required by the Court on the grounds that the courier
                                              8   company sometimes charged over $0.25 per page for copies and that Disney
                                              9   arranged for same-day or overnight delivery. Plaintiffs’ objection to the per-page
                                             10   cost of copies is nonsensical. They argue that Disney’s vendors charged a higher
                                             11   than reasonable rate to make copies of documents, but in support, they complain
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                                             12   about invoices for delivery costs. For example, Plaintiffs claim that Disney is only
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                                             13   entitled to recover $25.00 of the $45.00 it incurred to timely deliver a mandatory
                                             14   chambers copy of its Reply in Support of its Motion for Judgment on the Pleadings.
                                             15   Doc. 525-14 at 3. However, the $45.00 fee charged by ASAP Legal Solutions was
                                             16   for delivering a mandatory chambers copy, not for making copies. Doc. 517-7 at 27;
                                             17   Doc. 520-8 at 27. As to a few mandatory chambers copy invoices that actually
                                             18   include document preparation charges, Plaintiffs provide no justification for their
                                             19   proposed reductions, nor do they account for the fact that preparing mandatory
                                             20   chambers copies necessarily requires additional costs, such as binding. Plaintiffs’
                                             21   failure to demonstrate why Disney’s exemplification costs should not be awarded
                                             22   warrants overruling all their objections. See Anderson, 2015 WL 3648972, at *5
                                             23   (“Rule 54(d)(1) creates a presumption in favor of awarding costs to the prevailing
                                             24
                                             25
                                             26   once under L.R. 54-3.6. Because these three witnesses were not served with
                                             27   subpoenas (which would have included a witness fee payment), Disney submitted
                                                  separate invoices showing that witness fees were actually incurred for each of them.
                                             28
                                                  Disney’s Response to Plaintiffs’ Objections to   -11-                (No. 2:15-cv-05346-CJC-E)
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                                              1   party . . . and the burden falls on the losing party to demonstrate why costs should
                                              2   not be awarded.”).
                                              3           Plaintiffs also argue that Disney cannot recover its costs for providing
                                              4   chambers copies because Disney paid for expedited same day or overnight delivery.
                                              5   Specifically, and without any evidence or support, Plaintiffs claim that Disney
                                              6   received a flat delivery fee of $25.00 and then requested a more expensive service for
                                              7   its convenience. Not only is Plaintiffs’ unsubstantiated accusation false, but it also
                                              8   completely ignores that the Court requires the parties to submit mandatory courtesy
                                              9   copies by noon the day after the document was electronically filed. See L.R. 5-4.5;10
                                             10   Honorable Cormac J. Carney, U.S. Dist. Ct. for the Central Dist. of Cal.,
                                             11   https://www.cacd.uscourts.gov/honorable-cormac-j-carney (last visited July 30,
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                                             12   2021) (“Mandatory chambers copies shall be delivered in person or by overnight
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                                             13   services . . . to the Clerk’s Office . . . no later than noon following the date of filing
                                             14   as required by Local Rule 5-4.5.”). Disney requested expedited delivery to comply
                                             15   with the Court’s rules and is entitled to recover the costs associated with the Court’s
                                             16   filing requirements. See Alberghetti v. Corbis Corp., 2010 WL 11519601, at *1
                                             17   (C.D. Cal. Aug. 9, 2010) (“[C]ourtesy copy costs are generally ‘reasonably
                                             18   necessary’ because the Court requires that courtesy copies of all filings . . . must be
                                             19   delivered to Chambers.”).
                                             20
                                             21
                                             22
                                             23   10
                                                     Plaintiffs’ statement that the Local Rules require “chamber copies be provided to
                                             24   the Court within two business days of the filing” is inaccurate. Local Rule 5-4.5
                                             25   explicitly requires that “[u]nless otherwise ordered by the assigned judge, one
                                                  mandatory chambers copy of every electronically filed document must be delivered
                                             26   to the chambers of the assigned judge, or other designated location, no later than
                                             27   12:00 noon on the following business day.” No order has been issued which changes
                                                  this rule.
                                             28
                                                   Disney’s Response to Plaintiffs’ Objections to   -12-                 (No. 2:15-cv-05346-CJC-E)
                                                   Amended Application to Tax Costs
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                                              1          F.       Disney Is Entitled To Recover Costs Incurred To Prepare Trial
                                                                  Demonstratives
                                              2
                                                         Prevailing parties are entitled to recover costs associated with demonstrative
                                              3
                                                  exhibits that are reasonably necessary to assist the trier of fact. L.R. 54-3.12(a)
                                              4
                                                  (“[T]he reasonable cost of the physical preparation and duplication of the following
                                              5
                                                  items may be taxed . . . [s]ummaries, computations, polls, surveys, statistical
                                              6
                                                  comparisons, maps, charts, diagrams, and other visual aids reasonably necessary to
                                              7
                                                  assist the jury or the Court in understanding the issues at the trial.”). Plaintiffs
                                              8
                                                  concede this point and do not contest that Disney’s demonstratives would have been
                                              9
                                                  reasonably necessary to assist the trier of fact had the parties gone to trial. Doc. 518
                                             10
                                                  at 17-18. Instead, they object that Disney cannot recover its costs for preparing trial
                                             11
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                                                  demonstratives because the Court granted summary judgment in Disney’s favor
                                             12
                                                  before the trial in question occurred. Plaintiffs are simply wrong.
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                                             13
                                                         Contrary to Plaintiffs’ claim, nothing in Local Rule 54-3.12(a) requires a
                                             14
                                                  demonstrative to be used at trial to be recoverable as a taxable cost. Instead, a
                                             15
                                                  prevailing party is entitled to recover for the cost of demonstratives where they
                                             16
                                                  would have been reasonably necessary to aid the jury, even if a trial never happened.
                                             17
                                                  City of Alameda v. Nuveen Mun. High Income Opp. Fund, 2012 WL 177566, at *6
                                             18
                                                  (N.D. Cal. Jan. 23, 2012) (applying a nearly-identical rule and taxing costs incurred
                                             19
                                                  by the prevailing party for creating demonstrative exhibits which would have been
                                             20
                                                  reasonably necessary to assist the jury had the case gone to trial and not ended on
                                             21
                                                  summary judgment). This is the exact scenario presented here.
                                             22
                                                         Moreover, Disney’s demonstratives were not only reasonably necessary to aid
                                             23
                                                  the trier of fact, but they were also created before trial in accordance with the Court’s
                                             24
                                                  scheduling order and the Local Rules. As Disney explained in its Original and
                                             25
                                                  Amended Itemized Bill of Costs, the late Judge Manuel Real scheduled trial in
                                             26
                                                  Bellwether II to commence on August 7, 2017 (Doc. 165), and Local Rule 16-3
                                             27
                                                  required the parties to disclose their demonstrative exhibits by July 27, 2017.
                                             28
                                                  Disney’s Response to Plaintiffs’ Objections to   -13-                  (No. 2:15-cv-05346-CJC-E)
                                                  Amended Application to Tax Costs
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                                              1   However, the Court did not rule on Disney’s summary judgment motion until July
                                              2   24, 2017, three days before the required disclosure. Doc. 225. As a result, it was
                                              3   entirely reasonable—and in fact necessary—for Disney to prepare its demonstratives
                                              4   to satisfy the Court’s deadline. Because the demonstratives were reasonably
                                              5   necessary to assist the trier of fact, Disney is entitled to recover these costs. City of
                                              6   Alameda, 2012 WL 177566, at *6 (taxing $16,039.03 for costs incurred in preparing
                                              7   demonstrative exhibits for a trial that did not take place).
                                              8   IV.    CONCLUSION
                                              9          Disney’s Application seeks to recover the reasonable and necessary costs that
                                             10   it incurred litigating this matter to conclusion. Accordingly, this Court should
                                             11   overrule all of Plaintiffs’ objections and award costs in the amount of $86,387.39 to
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                                             12   Disney.
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                                             13
                                             14    Dated: August 16, 2021                          McDERMOTT WILL & EMERY LLP
                                             15
                                             16                                                    By:    /s/ Jeremy M. White
                                                                                                          Jeremy M. White
                                             17
                                                                                                          Attorneys for Defendant Walt Disney
                                             18                                                           Parks and Resorts U.S., Inc.
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                                                  Disney’s Response to Plaintiffs’ Objections to         -14-                   (No. 2:15-cv-05346-CJC-E)
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                                            Case 2:15-cv-05346-CJC-E Document 526 Filed 08/16/21 Page 15 of 15 Page ID #:38282




                                              1                             CERTIFICATE OF SERVICE
                                                         I certify that on August 16, 2021, I electronically filed the foregoing with the
                                              2
                                                  Clerk of the Court for the United States District Court, Central District of California,
                                              3
                                                  by using the CM/ECF system. Participants in the case who are registered CM/ECF
                                              4
                                              5   users will be served by the CM/ECF system.

                                              6
                                              7                                                  /s/ Jeremy M. White
                                                                                                 Jeremy M. White
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                                                  Disney’s Certificate of Service                                      (No. 2:15-cv-05346-CJC-E)
